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                                                                              CLERKS OFFICE U.S. DIST. COURT
                            UNITED STATES DISTRICT COURT                         AT CHARLOTTESVILLE, VA
                            WESTERN DISTRICT OF VIRGINIA                                FILED
                                CHARLOTTESVILLE DIVISION                            05/07/2020
                                                                                 JULIA C. DUDLEY, CLERK
                                                                                 BY: /s/ J. JONES
 DAMIAN STINNIE, MELISSA                                                             DEPUTY CLERK
 ADAMS, and ADRAINNE JOHNSON,
 individually, and on behalf of all others
 similarly situated; WILLIEST BANDY,
 and BRIANNA MORGAN, individually,
 and on behalf of all others similarly
 situated,

       Plaintiffs,

           v.
                                                        Case No. 3:16-cv-00044
 RICHARD D. HOLCOMB, in his official
 capacity as the Commissioner of the
 VIRGINIA DEPARTMENT OF MOTOR
 VEHICLES,

       Defendant.


                                              ORDER

       The Court has reviewed and hereby ADOPTS the parties’ Stipulation of Dismissal filed

on May 7, 2020. This action is DISMISSED as MOOT. The Court RETAINS JURISDICTION

to decide the issue of whether to award attorneys’ fees, and, if so, in what amount.

       The Court ORDERS that briefing on attorneys’ fees shall be BIFURCATED. First, the

parties will brief whether Plaintiffs are entitled to attorneys’ fees. Second, if the Court determines

that Plaintiffs are entitled to attorneys’ fees, the parties will brief the amount and reasonableness

of any fees.

       The Court further ORDERS that the parties shall file papers on the attorneys’ fee issues in

accordance with the following briefing schedule: Plaintiffs shall file any petition or motion for

attorneys’ fees along with their brief in support of entitlement to such fees within sixty (60) days
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of the date of entry of this Order. Defendant shall file his response brief within sixty (60) days of

the date of filing of Plaintiffs’ brief. Plaintiffs shall file any reply within thirty (30) days of the

date of the filing of Defendant’s response.

        If this Court determines that Plaintiffs are entitled to an award of attorneys’ fees, Plaintiffs

shall file papers setting forth their requested amount with supporting documentation and briefing

within sixty (60) days of the entry of the Order of this Court granting the request for fees.

Defendant shall file his response within sixty (60) days of the date of the filing of Plaintiffs’ papers.

Plaintiffs shall file any reply within thirty (30) days of the date of the filing of Defendant’s

response.

                              7th day of May, 2020.
        SO ORDERED, this the ____




WE ASK FOR THIS:

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